 

January 3, 2018

Cindy Bakley

P.O. Box 145

Bakley Construction Inc.

Huntley, IL 60142
BREACH AND VIOLATION OF
NON-DISCLOSURE AGREEMENT

AND DEMAND OF PAYMENT

Dear Bakleys:

On May 1, 2015, members of the BAKLEY family, including CINDY JO BAKLEY;
KENNETH BAKLEY, JR.; and KATHLEEN JENSEN signed an Advisory/Consulting Agreement
which contained a non-disclosure provision which prohibited the disclosure of
the existence or terms of the Advisory/Consulting Agreement to any outside party
or pay a $500,000 penalty by default judgment (confession of judgment) that
could, in the event of breach, be executed without further court action.

Exceptions to the disclosure provided for an allowance for TODD DYER to
disclose to JAMES DYER and/or NEW FIRST FINANCIAL RESOURCES for the purpose of
facilitating settlement terms. (EXHIBIT #1)

Members of the BAKLEY family have repeatedly breached the non-disclosure
agreement as documented herein facilitating this demand for payment.

Li The BAKLEY family breached the non-disclosure agreement when they
disclosed the existence of the consulting agreement to WENDI LESNIAK of ALBERT
KESTELEYN AND COMPANY, INC. (the BAKLEY's accounting firm) and had TODD DYER
issued two 1099 tax forms for 2014 and expensed those payments to DYER as
consulting fees. (EXHIBIT # 2)

2 The BAKLEY family breached the non-disclosure agreement on 6/26/2015
when the existence and terms of the consulting agreement were disclosed to FBI
Agent MICHAEL JOHNSON. (EXHIBIT # 3)

3. The BAKLEY family breached the non-disclosure agreement on 7/2/2015
when the existence and terms of the consulting agreement were disclosed to the
BAKLEYS' attorney RON PIERCEY in preparation for an FBI interview. (EXHIBIT # 4)

4. The BAKLEY family breached the non-disclosure agreement on 7/9/2015
when the existence and terms of the consulting agreement were again disclosed
to FBI Agent MICHAEL JOHNSON. (EXHIBIT # 5)

De The BAKLEY family breached the non-disclosure agreement on 7/25/2016
when the Advisory/Consulting Agreement was turned over to FBI Agent MICHAEL
JOHNSON. (EXHIBIT # 6)
 

A demand is hereby made for the $500,000 penalty forthwith.

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